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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

CHARLENE SIMMONS,

                                     Plaintiff,
                                                           MEMORANDUM & ORDER
                       -against-
                                                           18-CV-5938(ENV)(RLM)
 TRANS EXPRESS INC.,

                                      Defendant.
                                                      X



 VITALIANO,D.J.

        Plaintiff Charlene Simmons commenced this action on October 24,2018. (CompL,ECF

No. 1). She alleges that she is entitled to unpaid overtime wages, liquidated damages,and

 attorney's fees stemming from defendant Trans Express Inc.'s violations ofthe Fair Labor

 Standards Act,29 U.S.C. § 201 et seq.("FLSA"), and the New York Minimum Wage Act, N.Y.

 Lab. Law § 650 et seq.("NYLL"). (Compl.          1-3). On January 18, 2019, Trans Express moved

 to dismiss the complaint, pursuant to Rule 12(b)(6) ofthe Federal Rules of Civil Procedure.

(Mot., ECF No. 11). Trans Express contends that this action is barred by the doctrine of res

judicata because of a previous proceeding in Queens Civil Court, Small Claims Part 45 ("small
 claims court"). (Def. Br. at 2,ECF No. 11-5). For the reasons set forth below,the motion is

 granted.

                                           Background


        As its name suggests. Trans Express is a transportation services company headquartered

 in Brooklyn. (Compl.     8-9). Simmons was employed by Trans Express as a driver from April

 2012 to April 2013 and, subsequently,from June 2016 to June 2018. {Id. 111-12). She alleges

 that, throughout her employment there, she was paid at a regular rate of approximately $12.50 an
 hour and worked more than 40 hours a week but was not paid at an overtime rate. {Id. ^^13-14,


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 16). As a result, plaintiff claims that Trans Express violated the unpaid overtime provisions of
FLSA,{id.        32-37), as well as several provisions of NYLL,{id.        38-48). She seeks a

declaratory judgment,along with an award of unpaid wages, liquidated damages,interest, costs,

and attorney's fees. {Id.     49-54).

        Prior to bringing this lawsuit, it is undisputed, in August 2018, Simmons filed suit against

Trans Express in small claims court, seeking "monies arising out of nonpayment of wages."

Summons,Simmons v. Trans Express Bus Co., No. S.C.Q. 2847/2018(N.Y. Civ. Ct. Aug. 10,

2018). On September 4, 2018, after trial before a small claims arbitrator, Simmons was awarded

 a $1,000judgment, along with a $20 disbursement. Notice of Judgment,Simmons(N.Y. Civ. Ct.

 Sept. 4, 2018). This judgment was satisfied on September 28,2018. Notice ofPayment,

Simmons(N.Y. Civ. Ct. Oct. 15, 2018). After the smoke cleared in state court, Simmons filed

 this lawsuit.

                                             Legal Standard


         When deciding a motion to dismiss under Rule 12(b)(6)for failure to state a claim upon

 which relief can be granted, the district court must(1)accept as true all ofthe plaintiffs factual

 allegations and (2)draw all reasonable inferences in her favor. See Teichmann v. New York, 769

 F.3d 821,825(2d Cir. 2014). Courts must, nevertheless, ensure that a complaint pleads

 "sufficient factual matter, accepted as true, to 'state a claim to relief that is plausible on its

 face.'" Ashcroft v. Iqbal, 556 U.S.662,678,129 S. Ct. 1937, 173 L. Ed. 2d 868(2009)(quoting

 BellAtl. Corp. v. Twombly,550 U.S. 544,570,127 S. Ct. 1955,167 L. Ed. 2d 929(2007)).

         "A claim has facial plausibility when the plaintiff pleads factual content that allows the

 court to draw the reasonable inference that the defendant is liable for the misconduct alleged."

 Id. This "plausibility standard is not akin to a 'probability requirement,' but it asks for more than
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a sheer possibility that a defendant has acted unlawfully." Id. (quoting Twombly, 550 U.S. at

556). "Where a complaint pleads facts that are 'merely consistent with' a defendant's liability, it

'stops short ofthe line between possibility and plausibility of entitlement to relief.'" Id. (quoting
 Twombly,550 U.S. at 557). Although "detailed factual allegations" are not required,"[a]

 pleading that offers 'labels and conclusions' or 'a formulaic recitation ofthe elements of a cause

of action will not do.'" Id. (quoting Twombly,550 U.S. at 555). Similarly, a complaint fails to

state a claim "if it tenders 'naked assertion[s]' devoid of'further factual enhancement.'" Id.

(alteration in original)(quoting Twombly,550 U.S. at 557).

                                             Discussion


        Trans Express contends that plaintiffs prior action in small claims court precludes the

 present litigation. Its motion rests entirely on the doctrine of res judicata. According to that

 doctrine,"[a] final judgment on the merits of an action precludes the parties or their privies from

 relitigating issues that were or could have been raised in that action." Rivet v. Regions Bank of

 La., 522 U.S. 470,476,118 S. Ct. 921,139 L. Ed. 2d 912(1998). Because the small claims

 action brought by Simmons was decided by a New York court. New York law determines the

 preclusive effect ofthe earlier judgment. See Migra v. Warren City Sch. Dist. Ed. ofEduc.,465

 U.S. 75,81,104 S. Ct. 892,79 L. Ed. 2d 56(1984)("[A]federal court must give to a state-court

judgment the same preclusive effect as would be given thatjudgment under the law ofthe State

 in which the judgment was rendered."); accord CloverleafRealty ofN.Y., Inc. v. Town of

 Wawayanda,572 F.3d 93,95(2d Cir. 2009)(quoting id.). The issues presented by the judgment

 awarded to Simmons are(1) whether res judicata applies to judgments rendered in small claims

 court,(2) whether an exception to res judicata applies due to the limits on recovery in small

 claims court, and(3) whether plaintiffs present claims arise from the same facts as the previous
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action and could have been raised in that action. The Court also considers several minor issues

raised by plaintiff.

I.      Preclusive Effect of Small Claims Court Judgments

        As a fundamental rule, res judicata applies to judgments of New York's small claims

courts. See, e.g., Walters v. T&D Towing Corp.,'Ho, 17-cv-681 (JS)(AKT),2018 WL 1525696,

at *4(E.D.N.Y. Mar. 28, 2018); Chapman v. Faustin, 150 A.D.3d 647,647,55 N.Y.S.Sd 219

(1st Dep't 2017). Arguing to the contrary, plaintiff relies in principal part on New York City

Civil Court Act § 1808.' This statute provides thatjudgments in small claims courts "shall not

be deemed an adjudication of any fact at issue or found therein in any other action or court."

N.Y. City Civ. Ct. Act § 1808. However,the legislative history ofthis provision makes clear
that it concerns only collateral estoppel, or issue, as opposed to claim, preclusion, and,therefore,
 not the preclusive effects ofres judicata. The legislative bill jacket, completed at the bill's
 signing, which compiles the pertinent legislative history, makes clear that the very purpose ofthe
 bill was to clarify that "[t]he true intent of section 1808 is to make clear that a small claims
judgment has no collateral estoppel or 'issue preclusion' effect in a subsequent proceeding."
 N.Y. Bill Jacket, 2005 A.B. 4320, Ch. 443.

         An earlier version ofthe statute used the term "res judicata," but the legislative history of

 this 2005 amendment explains that "[t]he use ofthe term 'res judicata'[was]...inapposite." Id.
 The Legislature noted that "[t]he courts have consistently held that a small claimsjudgment is
 res judicata when the same claim is filed in another court," and cited five examples with


'The parties cite the New York Uniform City Court Act rather than the New York City Civil
 Court Act, but it is the latter that establishes and governs Queens Small Claims Court.
 Fortunately, § 1808 is identical in each statute, and the statutes were altered by the same 2005
 amendment.




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approval. Id, Plainly, this history confirms that New York law gives claim preclusive effect to

small claims courtjudgments. It is a conclusion that is reinforced by abundant case law. See,

e.g.y Chapman^ 150 A.D.3d at 647; Tovar v. Tesoros Prop. Mgmt,, LLC, 119 A.D.3d 1127,1128-

29,990 N.Y.S.2d 307(3d Dep't 2014); Merrimack Mut. Fire Ins. Co. v. Alan Feldman Plumbing

& Heating Corp., 102 A.D.3d 754, 754-55,961 N.Y.S.2d 183(2d Dep't 2013). Therefore, the

fact that Simmons's prior suit was decided in small claims court will not rescue this action from

the bar ofres judicata, if the bar is otherwise applicable.

II.     Limitation on the Availabilitv of Relief

        Plaintiff contends that res judicata does not apply because the small claims court was

only empowered to award $5,000 in damages and the present action seeks greater relief.
 However,the Appellate Division rejected this precise argument in Chapman, where it held that a
 small claims judgment operated as a bar to a future action,"even though, were plaintiffto have
 brought and proven his claims in [state] Supreme Court in the first instance, he could have
 sought a larger award." Chapman, 150 A.D.3d at 647. The court explained that "plaintiffs could
 have pursued all relief in a single action in the Supreme Court, but opted instead to pursue the
 claim in the Small Claims Part ofthe Civil Court," and it refused to allow plaintiffs to escape the

 consequences of that decision. Id,

         Simmons does cite case law according to which "resjudicata is inapplicable ifformal

 jurisdictional or statutory barriers precluded the plaintifffrom asserting its claims in the first
 action." Weitz v. Wagner,No.07-cv-l 106(KAM)(ETB),2008 WL 5605669, at *3(E.D.N.Y.

 July 24,2008)(quoting Comp. Assocs. Int'l v. Altai, Inc., 126 F.3d 365,370(2d Cir. 1997)),
 report and recommendation adopted, ECF No.54(E.D.N.Y. Aug. 11,2008). Significantly, the
 formal jurisdictional barrier in Weitz was a provision ofthe Fair Credit Reporting Act directing
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all suits under the act to federal court. Id. at *4(citing 15 U.S.C. § 1681 et seq.; 28 U.S.C. §

1331). In other words,the small claims court had no power to entertain the plaintiffs claims,

nor did any other state court for that matter, and, as a result, the judgment failed the requirement

that it be rendered "by a court ofcompetentjurisdiction," KIPP Acad. Charter Sch. v. United

Fed'n ofTeachers,723 F. App'x 26,29(2d Cir. 2018).

        Contrarily, Simmons does not contend that the small claims court's judgment was

jurisdictionally defective but, rather, that she now wants a greater damages award than she was

able to obtain in the court she chose for the first go around. Courts have held that res judicata

does not apply when a plaintiff could not seek damages in a prior action (i.e., when she could

only seek equitable relief) but have not recognized an exception to the doctrine when a plaintiff
 was merely limited to a smaller damages award than desired. See, e.g., Leather v. Eyck, 180

 F.3d 420,425(2d Cir. 1999); Parker v. Blauvelt Volunteer Fire Co., Inc., 93 N.Y.2d 343, 347,

 712 N.E.2d 647,690 N.Y.S.2d 478(1999). More generally. New York law dictates that, despite

 the limited exceptions discussed above,"[t]he fact that causes of action may ...seek different
 relief will not permit relitigation ofclaims." Sciangula v. Montegut, 165 A.D.3d 1188,1190,87
 N.Y.S.3d 47(2d Dep't 2018)(quoting Bayer v. City ofNew York, 115 A.D.3d 897, 898,983

 N.Y.S.2d 61 (2d Dep't 2014)). Therefore,the judgment ofthe small claims court for which

 Simmons opted and won precludes the present litigation, regardless ofthe statutory limitations
 on the damages recoverable in that court.^



 ^ Neither party invokes the fact that Simmons now seeks a declaratory judgment, a form of
 equitable reliefthat was unavailable in small claims court. Out of an abundance of caution, the
 Court will consider this argument. Nonetheless, the prayer for a declaratory judgment will not
 save Simmons's claim because electing to sue in small claims court, where a declaratory
 judgment was unavailable, was a choice of remedy analogous to the choice Simmons made when
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III.    Same Transaction


        Ofcourse, the mere restatement oflaw recognizing the power ofNew York's small

claims courts to render ajudgment with res judicata effect does not necessarily mean that the

small claims courtjudgment won by Simmons against Trans Express bars her claims against

Trans Express in this case. "To prove the affirmative defense [ofres judicata] a party must show

that(1)the previous action involved an adjudication on the merits;(2)the previous action

involved the plaintiffs or those in privity with them;[and](3)the claims asserted in the

subsequent action were, or could have been, raised in the prior action." Thomas v. N.Y.C. Dep't

ofEduc.,938 F. Supp. 2d 314, 331 (E.D.N.Y. 2013)(quoting                    v. N.Y.C. Dep'tofCorr.,

214 F.3d 275,285(2d Cir. 2000)).

        To begin, there is no indication in the official record that the small claims court's




she elected to pursue no more than $5,000 in damages. As in Chapman, plaintiff could have
 sought all relief she desired by suing originally in this Court, but she foreclosed the possibility of
a declaratory judgment by her choice to sue in small claims court. Moreover, by awarding
Simmons damages,the small claims court declared her rights, and, consequently, a declaratory
judgment from this Court would not afford her any relief she has not already obtained. In
general, a declaratory judgment action "cannot be maintained [when] it parallels [a plaintiffs]
 other claims and merely seeks a declaration ofthe same rights and obligations." Campione v.
 Campione,942 F. Supp. 2d 279,285(E.D.N.Y. 2013)(citations omitted); accord Smith v. Metro.
 Prop. & Liab. Ins. Co.,629 F.2d 757,760(2d Cir. 1980)(citing Necchi S.p.A. v. Necchi Sewing
 Mack Sales Corp., 348 F.2d 693,696(2d Cir. 1965)). "Plaintiff['s] declaratory judgment claim
 seeks resolution of legal issues that[were], of necessity,...resolved in the course ofthe
 litigation" in small claims court, and "the claim is duplicative in that it seeks no reliefthat[was]
 not implicitly sought" in the earlier action. Sofi Classic S.A. de C. V. v. Hurowitz,444 F. Supp.
 2d 231,249(S.D.N.Y. 2006). Campione,Smith, and Soft Classic authorize courts to decline to
 hear declaratory judgment claims alongside claims for coercive relief, but their reasoning applies
 equally when a party seeks a declaratory judgment having already won a damages award.
 Furthermore, because the earlierjudgment entailed a declaration of Simmons's rights, she has
already "received substantially all ofthe relief[s]he sought to obtain," and her claim for
declaratory judgment is effectively moot. Maloney v. County ofNassau,No.03-cv-4178(SET)
(MLO),2009 WL 922064, at *10(E.D.N.Y. Mar. 31,2009). Consequently, even if this
argument had been raised, it would not have saved the present action firom the bar of res judicata.
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judgment was anything but an adjudication on the merits. Indeed, the notice ofjudgment

discloses that the court reached its decision after trial. Notice of Judgment,Simmons(N.Y. Civ.

Ct. Sept, 4,2018). Furthermore, it is clear that Simmons was the plaintiff in the prior action. Id.

The only point of contention is whether the claims asserted now were or could have been raised

in the prior action.

        Because plaintiffs present claims, like her claims in small claims court, arise from her

employment at Trans Express and had accrued prior to the small claims proceeding, they could

have been raised in the prior proceeding and are barred by res judicata. In other words,the

present claims are "based upon the same harm and aris[e] out ofthe same or related facts,"

Chapman, 150 A.D.3d at 647. The notice ofjudgment in the small claims proceeding clearly

indicates that Simmons had raised a claim for "unpd. OT." Notice of Judgment,Simmons. It is

hard to construe this to mean anything other than unpaid overtime.

        Confronted with the unintended consequences of her decision to pursue expedited relief

in small claims court, Simmons seeks to recast it by contending that the small claims court

 proceeding related to her termination and that she sought pay solely for overtime following her
 termination. However,the Appellate Division has specifically "reject[ed the] contention that[a

 prior]judgment does not preclude this claim because plaintiff now seeks recovery of unpaid
 wages for a different period oftime than the time for which [s]he sought to recover wages in the
 small claims action." Tovar, 119 A.D.3d at 1128.^ "Stated another way,'when a plaintiff brings




 ^ Plaintiff attempts to distinguish Tovar by noting that she now asserts claims under FLSA and
 NYLL but did not assert such claims in small claims court. Put transparently, she contends that
 she is now seeking relief not for underpayment during a different period of time but rather for
 violations of different statutes. This does nothing to save plaintiffs case because res judicata
 "bar[s] claims arising from the same transaction even if brought under different statutes," Mayle
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an action for only part of[her] cause of action, the judgment obtained in that action precludes

[her] from bringing a second action for the residue ofthe claim.'" Id. at 1129(quoting Stoner v.

Culligan, Inc., 32 A.D.2d 170,171-72, 300 N.Y.S.2d 966(3d Dep't 1969)). Because any claim

for overtime wages- whether for work performed before Simmons's termination or for wages

owed following an allegedly wrongful termination -"had matured at the time that plaintiff

commenced the prior action, plaintiff could have also raised the current claim at that time and

was not entitled to split [her] claim for unpaid wages into separate actions," id. (citations

omitted).

        Stressing a distinction without a difference, Simmons continues that a claim for unpaid

overtime wages "can mean overtime pay at straight time (less than the statutory overtime rate)

for overtime hours(weekly hours over 40)," as opposed to overtime pay at the statutory rate,

 which she seeks now. (Opp'n at 8,ECF No. 11-6). Nonetheless, regardless of whether

 Simmons sought overtime pay at straight time or at the statutory rate under FLSA or NYLL,her

 claims to wages at each rate matured simultaneously and could have been raised in the small

 claims proceeding. Res judicata bars "all other claims arising out ofthe same transaction or

 series of transactions ... even if based upon different theories or if seeking a different remedy."

 Tovar, 119 A.D.3d at 1128 (quoting O'Brien v. City ofSyracuse, 54 N.Y.2d 353, 357,429

 N.E.2d 1158,445 N.Y.S.2d 687(1981)). Consequently, even assuming that plaintiff sought only

 straight time before the small claims court, her prayer for the statutory rate in the present action



 V. Felix, 545 U.S. 644,673, 125 S. Ct. 2562, 162 L. Ed. 2d 582(2005)(quoting Kremer v. Chem.
 Constr. Corp.,456 U.S. 461,482 n.22, 102 S. Ct. 1883,72 L. Ed. 2d 262(1982)). More
 precisely, in seeking to avoid the res judicata bar, the question is not whether Simmons did or did
 not advance all of her claims in the small claims proceeding. The question is whether she could
 have. Plaintiff offers no reason why, and the Court is aware of none, other than her own election
 of remedies, she could not have done so.
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 does nothing to save her claim from the res judicata bar.

 IV.    Other Issues


        Plaintiff raises a handful of additional challenges to the application ofres judicata. They

 are uniformly meritless. First, plaintiff argues that, because an arbitrator, rather than a judge,

 presided over the small claims court proceeding, res judicata does not apply. But, New York law

 is unambiguous that res judicata does apply to judgments entered on the decisions of arbitrators.

 Simpson v. County ofWestchester, 5 A.D.3d 780, 781,773 N.Y.S.2d 881 (2d Dep't 2004)

 ("Once a controversy is heard and a decision has been made by either an arbitrator, a

 commissioner, or a judge, that is the end ofthe matter."(citations and internal quotation marks

 omitted)); Yarmosh v. Lohan^ 16 Misc.3d 119(a), 847 N.Y.S.2d 900,2007 WL 2254342, at *2
 (Suffolk Cty. Dist. Ct. July 19,2007)(unpublished table decision)("Res Judicata applies to
 arbitration awards with the same force and effect as it applies to judgments ofthe court."

 (quoting McNally Int'/ Corp. v. N.Y. Infirmary-Beekman Downtown Hosp., 145 A.D.2d 417,417,
 535 N.Y.S.2d 388(2d Dep't 1988))); see also Lobban v. Cromwell Towers Apartments, LP.,No.
 18-CV-247(CS),2018 WL 5447544, at *8 n.4(S.D.N.Y. Oct. 29,2018)(recognizing that arbitral
 judgments may preclude future FLSA and NYLL claims), appeal dismissed. No. 18-3583(2d
 Cir. Dec. 12,2018). In short, the fact that an arbitrator decided the small claims action is
 irrelevant.


         Relying on Judge Friendly's 1959 opinion in Caserta v. Home Lines Agency, Inc., 273
  F.2d 943(2d Cir. 1959), Simmons argues next that federal wage and hour policy neutralizes any
  res judicata effect ofthe prior small claims judgment."* In Caserta, the Second Circuit held that.



  "* Simmons further invokes the Second Circuit's decision in Cheeks v. Freeport Pancake House,


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 in FLSA cases, an "argument of estoppel ignores that[FLSA cases] lie[] in an area where

 agreements and other acts that would normally have controlling legal significance are overcome

 by Congressional policy." Id. at 946. This is of no moment to the present action. This portion

 of Caserta simply stands for the proposition that employers cannot relieve themselves oftheir

 obligations under FLSA by contract. If Trans Express asserted that it was not bound to pay

 Simmons at an overtime rate because her employment contract did not provide for overtime pay,

 Caserta would defeat this argument. Sweeping away the straw man,as to Trans Express's real

 argument,that plaintiffs claims are barred by the affirmative defense ofres judicata, Caserta is

 entirely irrelevant. Asserting this defense does not allow employers to avoid their obligations

 under FLSA. Simmons's decision to bring her wage and hour claims in small claims court

 merely capped her remedies; it did not alter her claims or defendant's liability under the law. In
 any event,"[n]o provision ofthe FLSA bars the application ofres judicata." Klein v. Ryan Beck
 Holdings, Inc., No.06 Civ. 3460(WCC),2007 WL 2059828, at * 7(S.D.N.Y. July 13,2007), as
 amended(July 20,2007). Simmons cannot, therefore, invoke these unfounded policy
 considerations to evade the consequences of her decision to sue initially in small claims court.

        Finally, Simmons contends that the small claims court's notice ofjudgment does not

 adequately describe the reasons for the court's decision. She invokes the fact that the arbitrator's
 decision was not appealable because there was no transcript of the proceedings and argues that
 this precludes the Court from applying res judicata.^ However,"[f]or more than 100 years. New


 Inc., 796 F.3d 199(2d Cir. 2015), which requires district courts to scrutinize any waiver of
 FLSA claims, but the relevance ofthis requirement to the instant matter is imclear, since Cheeks
 deals with settlement, not litigated claims reduced to judgment post-trial.

 ^ Although Simmons attributes the parties' inability to appeal the judgment ofthe small claims
 court to the lack of a record, pursuant to New York City Civil Court Act § 1807, Simmons


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 York courts have held that the correctness of a judgment has no bearing on its preclusive effect."

 Zimmerman v. Poly Prep Country Day Sch,888 F. Supp. 2d 317, 336(E.D.N.Y. 2012)(citing

 Griffin v. Long Island PR. Co., 102 N.Y.449,452,7 N.E. 735 (1886);Ins. Co. ofState ofPa. v.

 HSBC Bank USA, 10 N.Y.3d 32,40 n.4, 882 N.E.2d 381, 852 N.Y.S.2d 812(2008)). "[A]ll legal

 conclusions- whether erroneous or correct- are treated identically for purposes of res judicata."

 Ins. Co. ofState ofPa., 10 N.Y.3d at 40 n.4. Consequently,there is no need to determine the

 grounds for the small claims court's conclusion. Moreover, a detailed transcript ofa prior

 proceeding is clearly not required before invoking res judicata because "under New York law a

 defaultjudgment... has res judicata effect equal to that of ajudgment on the merits," Clark v.

 Cavalry Portfolio Servs., LLC,No. 17-cv-99(VB),2017 WL 6757224, at *3(S.D.N.Y. Dec. 29,

 2017)(citing Lazides v. P&G Enters., 58 A.D.3d 607,609, 871 N.Y.S.2d 357(2d Dep't 2009)).
 As a result, the Court need not undertake a searching review ofthe small claims court record

 before applying res judicata, and the lack ofsuch a record will not limit the preclusive effect of
 the small claims court's judgment.




 "waived all right to appeal" by "commencing an action upon a small claim" in small claims court
 and then consenting to arbitration of it. See N.Y, City Civ. Ct. Act § 1807. Clearly and
 dispositively, moreover,the rules of procedure applicable to the small claims proceeding
 required plaintiffs consent before submitting her claim to arbitration, and this consent included a
 waiver of her right to appeal. See 22 N.Y.C.R.R. § 208.41(n)(2)("The parties shall sign a
 consent which shall contain ... an affirmation that the decision of the arbitrator is final and that
 no appeal shall lie from the award,").


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                                           Conclusion


        For the foregoing reasons, defendant's motion to dismiss is granted, and the complaint is

 dismissed with prejudice.

        The Clerk of Court is directed to enterjudgment accordingly and to close this case.

        So Ordered.


 Dated: Brooklyn, New York
        February 7,2019

                                                           s/ ENV

                                                           ERIC N. VITALIANO
                                                           United States District Judge




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